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                     EXHIBIT 1
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                                     Fig. 2
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                   7,300.000               Hi! H3T 3   un transfetted

                    6.000,000

              ??? ? 5,000,000
              ?E    4,000,000
              º


          § 3,000,000
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                    t.Ú[X},000

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                                                        Day

                                                 Fig. 4A

               7,000.
                ,000.000                         N ?H3T3   B 7, ?

                   6.000,000

               5, C O,QO3
                                                                    -c- P28 GFP
         3.                                                         —•— pzí". GFp
         ?                                                          -*- P.28z GFP
          ??? 400,000
         ????
                                                                    ---- Pz2B GFP
                                                                    --** #9z1 GFP
         8 3,000,000
         7.
         ?
         ? 2,00G.G00

                   1,000,000
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 6 of 24 Page ID #:20


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                7,000,000              NIH3T3   ? ???A

                8,0C0, OGC

                5,000,???                                     .????


                4,300,000

                3,000,000

                2,000,000

                1.000,000;




                                       Fig. 4C


                  6,000,000

                  5,000,000

                  4,000,000 :
                  3,000,000

                  2,000,000,

                   1. GOC, CÓG
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 7 of 24 Page ID #:21
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                 ! 3 OCC ICC




                  g, tex),000




                  2.000.000



                                                    D =y


                                               Fig. 5C

                 20(b)                    N?H3T 3 PSMA + B7.1 - CD4 *




             :c},DC0,000



                  500,000                                        ----- Pzi GEP
                                                                 -------- P28r GFP
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 9 of 24 Page ID #:23


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                  ?? *
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             ?
             ?
             3
                  10 *




                  10 * AASAASAASAAAS
                         O     4.    8        12       18   20    24
                                         Days ln cultura

                                      Fig. 5E




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             3
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 10 of 24 Page ID #:24


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                        50


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                    i   3Ö




                        10



                                 25     13      5     3.        1.5   0.7
                                      Effectar : target ratio

                                          Fig. 6A



                    7,000.000

                    6,000,000




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                    5,000,000

                    4,330,000
                    3,000,000
                    2,000,000
                    í „OOC 000
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                                                        US 7,446,190 B2
                                  3                                                                    4
  monolayer. Absolute numbers of transduced CD8+ (panels A             transmembrane sequences from other sources, for example
  and C) and CD4+ T cells (panels B and D) were calculated as          from CD8. The zeta and CD28 may be disposed in the nucleic
  the product of percentage transduced (determined by flow             acid polymer is either order. Next in order comes an EMCV
  cytometry)xtotal cell count. Co-culture of all transduced PBL        IRES 13, followed by a sequence 14 encoding a marker
  populations with B7.1 expressing or unmodified NIH3T3              5 protein, such as enhanced green fluorescent protein (EGFP).
  cells resulted in a progressive decline in total cell number and     At the 3' end of the nucleic acid polymeras illustrated in FIG.
  content of transduced T cells (data not shown). (E) P28z              1 is a 3'-LTR from the SFG onco-retrovira1 vector While the
  transduced T cells were expanded by sequential re-stimula             structure in FIG. 1 reflects the vector which was used in the
  tion on NIH3T3 PSMA fibroblast feeder layers, is indicated            examples described below, other vectors which result in
  by the arrows. Cultures were maintained in IL-2 (20 U/ml),         10 expression of the chimeric TCR of the invention may also be
  which was added every three days. The data represent the              employed.
  meanies.d. of six data points (triplicate cell counts from two          The zeta chain portion sequence employed in the present
  separate cultures). These cultures were subjected to three            application includes the intracellular domain. This domain,
  color flow cytometry at intervals to detect transduced                which spans amino acid residues 52-163 (Seq. ID No: 14
  (eGFP+) cells of the CD4+ and CD8+ subsets. Similar data           15 (nucleotides 154-489, Seq. ID No. 3) of the human CD3 zeta
  were obtained upon analysis of both cultures, and data shown          chain, can be amplified using the primers of Seq. ID Nos. 1
  are from one representative example (F).                              and 2.
     FIGS. 6A and B. PSMA+ tumor cells activate cytolytic and              CD28 sequences can be found in the present application on
  proliferative responses in P28z-transduced PBLs. (A) Spe              either side of the zeta chain portion sequence. In either case,
  cific tumor cell lysis by PSMA-redirected T cells. Tcells were     20 the CD28 sequences include the signaling elements from
  transduced with 1971 (control), Pz1, P28z GFP, and Pz28               CD28. In one embodiment, where CD 28 is between the zeta
  GFP. Four days after completion of gene transfer, equivalent      chain portion and the scr'v, the CD28 portion suitably
  numbers of transduced T cells were added to LNCap human           includes the transmembrane and signaling domains of CD28,
  prostate cells. All PSMA-specific T cells (Pz1, P28z, and i.e., the portion of CD28 clNA spanning nucleotides 340 to
  Pz28) demonstrated cytotoxic activity similar to that demon- 25 663, including the stop codon (amino acids 114-220 of Seq.
  strated against NIH3T3 PSMA+ fibroblasts. Background ID No. 10). This portion of CD28 can be amplified by PCR
  cytotoxic activity seen with 1921 control T cells may be due using the primers of Seq. ID NO. 4 and 5. The full sequence
  to alloreactivity (which is not seen with the murine NIH3T3 ofthis regionis set forth in Seq. ID No: 6. Alternatively, when
  fibroblasts: FIG. 3). (B) The P28z fusion receptor renders T the zeta sequence lies between the CD28 sequence and the
  lymphocytes capable of PSMA-dependent, B7.1-indepen- 30 binding element, the 41 amino acid intracellular domain of
  dent expansion following co-cultivation with LNCaP tumor CD28 (amino acid residues given by Seq. ID No. 9) is suitably
  calls. 1971-, PZ1-, and Pz28-transduced T cells did not used alone. This fragment of CD28 cDNA can be amplified
  expand.                                                           using primers of Seq. ID. Nos. 7 and 8.
                                                                       Binding elements used in the invention are selected to
                   DETAILED DESCRIPTION                          35 provide the chimeric TCR with the ability to recognize a
                                                                    target of interest. The target to which the chimeric T cell
     In accordance with the present invention, activation and receptors of the invention are directed can be any target of
  co-stimulationare provided by a single chimeric T cell recep clinical interest to which it would be desirable to induce a T
  tor comprising a zeta chain portion, a costimulatory signaling cell response. This would include markers associated with
  region anda target-specific bindingelement. The Tcell recep- 40 cancers of various types, including without limitation pros
  tor is suitably generated in situ in T lymphocytes by expres tate cancer (for example using a binding element that binds to
  sion of a nucleic acid polymer encoding the three portions of PSMA), breast cancer (for example using a binding element
  the chimeric T cell receptor.                                     that targets Her-2) and neuroblastomas, melanomas, small
     As used in the specification and claims of this application, cell lung carcinoma, sarcomas and brain tumors (for example
  the term “costimulatory signaling region” refers to it portion 45 using a binding element that targets GD 2). Known binding
  of the chimeric T cell receptor comprising the intracellular elements used in chimeric TCR’s are generally useful in the
  domain of a costimulatory molecule. Costimulatory mol present invention, and include without limitation those
  ecules are cell surface molecules other than antigen receptors described in commonly assigned PCT Publication 97/36434
  or their ligands that are required for an efficient response of and U.S. patentapplication Ser. Nos. 08/940,544 and 09/786,
  lymphocytes to antigen. Examples of such molecules include 50 502 which are incorporated herein by reference in their
  CD28, 4-1BB, DAP-10 and ICOS. Thus, while the invention           entirety.
  in exemplified primarily with CD28 as the co-stimulatory             The binding elements used in the invention are suitably
  signaling element, other costimulatory elements are within antibodies that recognize a selected target. For convenience,
  the scope of the invention. For example, chimeric TCR con the antibody used as the binding element is preferably a single
  taining the intracellular domain of 4-1BB (full sequence 55 chain antibody (scr'v). Single chain antibodies may be cloned
  given in Seq ID No. 15), ICOS (full sequence given in Seq ID from the V region genes of a hybridoma specific for a desired
  No: 16) and DAP-10 (full sequence given by Seq. ID No. 17) target. The production of such hybridomas has become rou
  are also suitably employed in the invention.                      tine, and the procedure will not be repeated here. A technique
     FIG. 1 shows a schematic of a nucleic acid polymer within which can be used for cloning the variable region heavy chain
  the scope of the invention in which the T cell receptor is 60 (V-H-) and variable region light chain (V-L-) has been
  positioned within an SFG onco-retroviral vector As shown, described in Orlandi et al., Proc. Natl. Acad. Sci. (USA) 86:
  the nucleic acid polymer comprises the 5'-long terminal 3833-3837 (1989). Briefly, mRNA is isolated from the hybri
  repeat (LTR) and the packaging signal upportion of the vector, doma cell line, and reverse transcribed into complementary
  followed by the CD8 O-hinge 10 and the binding element 11. DNA (cDNA), for example using a reverse transcriptasepoly
  SD and SA represent the splice donor and splice acceptor, 65 merase chain reaction (RT-PCR) kit. Sequence-specific prim
  respectively. The nextregion 12 encodes the Zeta chain por ers corresponding to the sequence of the V-H- and V-L-genes
  tion and CD28 sequences, and may additionally include are used. Sequence analysis of the cloned products and com
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Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 15 of 24 Page ID #:29
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                                                        US 7,446,190 B2
                                11                                                                         12
  as well as PSMA-transduced PC3 and EL4 cells, which are                  10 amplicon with CD19 scr'v and zeta tails with restriction
  respectively a human prostate cancer cell line and a murine              cleavage sites to facilitate ligation to the CD19 scr'v and zeta
  thymoma 19. Pz1, P287, and Pz28 directed comparable and                  chain portions. The hyphen in the sequence indicates the
  elevated cytolytic activity against LNCaP cells (FIG. 6A).               transition from the DAP-10 sequence to the tail. The same
  Proliferative responses elicited by LNCaP cells expressing               primer can be used for other binding elements such as PSMA
  B7.1 were also comparable for these receptors (data not                  which end in the same sequence.
  shown). Of the three receptors, however, only P28z could                    The following references are cited herein and are incorpo
  induce sustained proliferation during co-cultivation with                rated herein by reference.
  LNCaP cells (FIG. 6B). The re-stimulated T cells preserved               1. Gilboa, E. How tumors escape immune destruction and
  their tumoricidal activity (data not shown), corroborating          10     what we can do about it. Cancer Immunol. Immunother.
  findings obtained with PSMA+ fibroblasts (FIG. 3B).                         48,382-385 (1999).
     Example 7 To construct a CD19-specific scr'v, we cloned               2. Melief, C. J. et al. Strategies for immunotherapy of cancer.
  the heavy (VH) and light (VL) chain variable regions from                   Adv. Immunol. 75, 235-282 (2000).
  hybridoma cell line SJ25C1 derived cDNA by the polymerase                3. Ferrone, S., Finerty, J. F., Jaffee, E. M. & Nabel, G. J. How
  chain reaction (PCR) using degenerate primers described by          15      much longer will tumor cells fool the immune system.
  Orlandi et al.” and fused these coding regions with a DNA                   Immunol. Today 21, 70-72 (2000).
  fragmentencoding fora (Gly3Ser), spacer region. We ligated               4. Houghton, A. N. Cancer antigens: immune recognition of
  a costimulatory signaling element from human CD28, includ                   self and altered self. J. Exp. Med. 180, 1-4 (1994).
  ing transmembrane and extracellular portions SEQID NO: 6)                5. Boon, T., Coulie, P. D. & Van den Eynde, B. Tumor anti
  to the 3' end of the resulting scr'v and the cytoplasmic domain     20      gens recognized by T cells. Immunol. Today 18, 267-268
  of the human-ç SEQ ID NO. 3) to the 3' end of the CD28                      (1997).
  portion to form fusion gene 19-28z.                                      6. Nanda, N. K. & Sercarz, E. E. Induction of anti-self
     The 19-28z fusion was tested for its ability to reduce tumor             immunity to cure cancer. Cell 82, 13-17 (1995).
  growth and enhance survival in mice injected with NALM6T                 7. Sotomayor, E. M., Borrello, I. & Levitsky, H. I. Tolerance
  cells. NALM6 cells express CD19, MHCI, and MHC II but               25      and cancer: a critical issue in tumorimmunology. Crit. Rev.
  not B7.1 or B7.2. Most (~80%) untreated SCID-Beige mice                     Oncog. 7, 433-456 (1996).
  develop hind-limb paralysis 4-5 weeks after tumor cell injec             8. Kiertscher, S. M., Luo, J., Dubinett, S. M. & Roth, M. D.
  tion, remaining mice develop weight loss and/or other CNS                   Tumors promote altered maturation and early apoptosis of
  symptoms (i.e. vestibular symptoms). When the 18-28z                       monocyte-derived dendritic cells. J. Immunol. 164, 1269
  fusion was present, T cell stimulation was enhanced nearly          30      1276 (2000).
  ten-fold, and survival of some of the mice was greatly                   9. Almand, B. et al. Increased production of immature
  extended as compared to mice treated with Pzl (a PSMA                      myeloid cells in cancer patients: a mechanism of immuno
  specific construct) or 1971, a CD19-specific construct lacking              suppression in cancer. J. Immunol. 166, 678-689 (2001).
  the costimulatory signaling element.                                     10. Lee, P. P. et al. Characterization of circulating T cells
     Example 8 A chimeric TCR containing a CD19 binding               35      specific for tumor-associated antigens in melanoma
  element, 4-1BB as the costimulatory region and the intracel                patients. Nat. Med. 5, 677-685 (1999).
  lular domain of the CD3C chain in that order is prepared using           11. Marincola, F. M., Jaffee, E. M., Hicklin, D. J. & Ferrone,
  the methodology of Example 1. The 4-1BB is amplified using                 S. Escape of human solid tumors from T cell recognition:
  the following primers GCGGCCGCA-CCATCTCCAGC                                molecular mechanisms and functional significance. Adv.
  CGAC SEQ ID NO: 18) and CTTCACTCT-CAGTTCA                           40     Immunol. 74, 181-273 (2000).
  CATCCTTC SEQID NO: 19) to generate a 4-1BB amplicon                      12. Eshhar, Z., Waks, T., Gross, G. & Schindler, D. G. Specific
  with CD19 schºv and zeta tails with restriction cleavage sites             activation and targeting of cytotoxic lymphocytes through
  to facilitate ligation to the CD19 scr'v and zeta chain portions.          chimeric single chains consisting of antibody-binding
  The hyphen in the sequence indicates the transition from the               domains and the gamma or zeta subunits of the immuno
  4-1BB sequence to the tail. The same primer can be used for         45     globulin and T-cell receptors. Proc. Natl. Acad. Sci. USA
  other binding elements such as PSMA which end in the same                  90, 720-724 (1993).
  sequence.                                                                13. Altenschmidt, U., Moritz, D. & Groner, B. Specific cyto
     Example 9 A chimeric TCR containing a CD19 binding                      toxic T lymphocytes in gene therapy. J. Mol. Med. 75,
  element, ICOS as the costimulatory region and the intracel                 259-266 (1997).
  lular domain of the CD3 C chain in that order is prepared using     50   14. Paillard, F. Immunotherapy with T cells bearing chimeric
  the methodology of Example 1. The ICOS is amplified using                  antitumor receptors. Hum. Gene Ther. 10, 151-153 (1999).
  the      following       primers       GCGGCCGCA-CTAT                    15. Geiger, T. L., Leitenberg, D. & Flavell, R. A. The TCRC
  CAATTTTTGATCCT SEQ ID NO. 20) and CTTCACTCT                                chain immunoreceptor tyrosine-based activation motifs
  TAGGGTCACATCTGTGAG SEQID NO: 21) to generate a                             are sufficient for the activation and differentiation of pri
  ICOSamplicon with CD19 scr'v and zeta tails with restriction        ss     mary T lymphocytes. J. Immunol. 162, 5931-5939 (1999).
  cleavage sites to facilitate ligation to the CD19 scr'v and zeta         16. Haynes, N. M. et al. Redirecting mouse CTL against
  chain portions. The hyphen in the sequence indicates the                   colon carcinoma: superior signaling efficacy of single
  transition from the ICOS sequence to the tail. The same                    chain variable domain chimeras containing TCR-C vs
  primer can be used for other binding elements such as PSMA                 FcRI-y. J. Immunol. 166, 182-187 (2001).
  which end in the same sequence.                                     60   17. Whiteside, T. L. Signaling defects in T lymphocytes of
     Example 10 A chimeric TCR containing CD19 binding                       patients with malignancy. Cancer Immunol. Immunother.
  element, DAP-10 as the costimulatory region and the intrac                 48, 346-352 (1999).
  ellular domain of the CD3 C chain in that order is prepared              18. Gong, M. C. et al. Cancer patient T cells genetically
  using the methodology of Example 1. The DAP-10 is ampli                    targeted to prostate-specific membrane antigen specifically
  fied using the following primers GCGGCCGCA-CAGAC                    65     lyse prostate cancer cells and release cytokines in response
  GACCCCAGGA (SEQ ID NO: 22) and CTTCACTCT-GC                                to prostate-specific membrane antigen. Neoplasia 1, 123
  CCCTGCCTGGCATG (SEQIDNO. 23) to generatea DAP                               127 (1999).
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Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 18 of 24 Page ID #:32
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                                                                      US 7,446,190 B2
                                       17
                                                                           – continued

  <400: SEQUENCE: 8
  cgctcgagtc aggagogata ggctgcgaag togogt

  <210: SEQ ID NO 9
  <211: LENGTH : 41
  <2 12:> TYPE : PRT
  <2 13: ORGANISM : human

  <4 OO» SEQUENCE : 9

  Arg Ser Lys Arg Ser Arg Leu Leu His Ser Asp Tyr Met Asn Met Thr
  1                        5                             10                              15

  Pro Arg Arg Pro Gly Pro Thr Arg Lys His Tyr Gln Pro Tyr Ala Pro
                    20                             25                             30

  Pro Arg Asp Phe Ala Ala Tyr Arg Ser
              35                             40


  <210: SEQ ID NO 10
  <211: LENGTH : 220
  <2 12:> TYPE : PRT
  <2 13: ORGANISM : human

  <400: SEQUENCE: 10

  Met Leu Arg Leu Leu Leu Ala Leu Asn Leu Phe Pro Ser Ile Gln Val
  1                        5                             10                              15

  Thr Gly Asn Lys I le Leu Val Lys Gln Ser Pro Met Leu Val Ala Tyr
                    20                             25                             30

  Asp Asn Ala Val Asn Leu Ser Cys Lys Tyr Ser Tyr Asn Leu Phe Ser
              35                             40                             45

  Arg Glu Phe Arg Ala Ser Leu His Lys Gly Leu Asp Ser Ala Val Glu
        50                             55                             60

  Val Cys Val Val Tyr Gly Asn Tyr Ser Gln Gln Leu Gln Val Tyr Ser
  65                             70                             75                             30

  Lys Thr Gly Phe Asn Cys Asp Gly Lys Leu Gly Asn Glu Ser Val Thr
                           35                            90                              95

  Phe Tyr Leu Gln Asn Leu Tyr Val Asn Gln Thr Asp Ile Tyr Phe Cys
                    10 0                           105                            110

  Lys Ile Glu Val Met Tyr Pro Pro Pro Tyr Leu Asp Asn Glu Lys Ser
              115                            120                            125

  Asn Gly Thr Ile Ile His Val Lys Gly Lys His Leu Cys Pro Ser Pro
        130                            135                            140

  Leu Phe Pro Gly Pro Ser Lys Pro Phe Trp Val Leu Val Val Val Gly
  145                            150                            155                            160

  Gly Val Leu Ala Cys Tyr Ser Leu Leu Val Thr Val Ala Phe Ile Ile
                           165                           17 O                            175

  Phe Trp Val Arg Ser Lys Arg Ser Arg Leu Leu His Ser Asp Tyr Met
                    180                            185                            19 O

  Asn Met Thr Pro Arg Arg Pro Gly Pro Thr Arg Lys His Tyr Gln Pro
              195                            200                            205

  Tyr Ala Pro Pro Arg Asp Phe Ala Ala Tyr Arg Ser
        210                            215                            220


  <210: SEQ ID NO 11
  <211: LENGTH : 108
  <2 12:> TYPE : PRT
  <2 13: ORGANISM : human

  <400: SEQUENCE: 11
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 20 of 24 Page ID #:34
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 21 of 24 Page ID #:35
Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 22 of 24 Page ID #:36
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                                                       US 7,446,190 B2
                                25                                                                    26
                                                          – continued
  <223> OTHER INFORMATION: ICOS zeta fusion primer
  <400: SEQUENCE: 21

  cttc actc tt agggtcacat ctgtgag                                                         27


         SEQ ID NO 22
         LENGTH : 24
         TYPE : DNA
         ORGANISM : artificial
         FEATURE :
         OTHER INFORMATION: scFV      DAP-10 fusion primer
  <400: SEQUENCE: 22
  gcggccgc ac aga cga cc cc agga                                                          24


         SEQ ID NO 23
         LENGTH : 25
         TYPE : DNA
         ORGANISM : artificial
         FEATURE :
         OTHER INFORMATION: DAP-10 zeta fusion primer
  <400: SEQUENCE: 23
  cttcactctg cccctgcctg gcatg                                                             25




    The invention claimed is:
                                                                    30
                                                                            7. The nucleic acid polymer of claim 1, wherein the zeta
     1. A nucleic acid polymer encoding a chimeric T cell recep          chain portion comprises the sequence obtained by amplifica
  tor, said chimeric T cell receptor comprising                          tion of human zeta chain DNA with the primers of SEQ ID
     (a) a zeta chain portion comprising the intracellular domain        Nos 1 and 2.
        of human CD3 C chain,                                               8. The nucleic acid polymer of claim 7, wherein the binding
     (b) a costimulatory signaling region, and                           element is an antibody.
                                                                    35
     (c) a binding element that specifically interacts with a               9. The nucleic acid polymer of claim 8, wherein the anti
        selected target, wherein the costimulatory signaling             body is a single chain antibody.
        region comprises the amino acid sequence encoded by                 10. The nucleic acid polymer of claim 9, wherein the single
        SEQ ID NO:6.                                                     chain antibody binds to prostate specific membrane antigen.
     2. The nucleic acid polymer of claim 1, wherein the binding    40      11. The nucleic acid polymer of claim 9, wherein the single
  element is an antibody.                                                chain antibody binds to CD19.
     3. The nucleic acid polymer of claim 2, wherein the anti
  body is a single chain antibody.                                          12. The nucleic acid polymer of claim 9, wherein the
     4. The nucleic acid polymer of claim 3, wherein the single          encoded T cell receptor comprises binding element-costimu
  chain antibody binds to prostate specific membrane antigen.            latory signaling region-zeta chain portion in that order.
     5. The nucleic acid polymer of claim 3, wherein the single     45      13. The nucleic acid polymer of claim 1, wherein the
  chain antibody binds to CD19.                                          encoded T cell receptor comprises binding element-signaling
     6. The nucleic acid polymer of claim 3, wherein the                 region-zeta chain portion in that order.
  encoded T cell receptor comprises binding element-costimu
  latory signaling region-zeta chain portion in that order.
    Case 2:17-cv-07639-SJO-KS Document 1-1 Filed 10/18/17 Page 24 of 24 Page ID #:38

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                    CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,446,190 B2                                                                                      Page 1 of 1
APPLICATION NO.             : 10/448.256
D?????                      : November 4, 2008
INVENTOR(S)                 : Sadelain et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         In the Specifications:

         Column 15, Line(s) 14-19 should read
          <210> 4
          <21 1s. 26
          <212> DNA
          <213> human
          <400> 4
          ggoggccgca attgaagtta tgtatc 26

         Column 15, Line(s) 26-36 should read
          <210> 6
          <21 1 > 321
          <212> DNA
          <213> human
          <400> 6
          attgaagtta tgtatcctcc tccttaccta gacaatgaga agagcaatgg aaccattatC 60
          catgtgaaag ggaaacacct ttgtccaagt cccctattte cCggaccttC taagCCCttt 120
          tgggtgctgg tggtggtigg tggagtcctg gcttgctata gCttgctagt aacagtggCC 180
          tttattattt tctgggtgag gagtaagagg agCaggotCC tgCaCagtga CtaCatgaaC 240
          atgactocco gocgcc.ccgg goccaccCGC aaggattaccagoCCtatgc CCCaCCaCJC 300
          gacttcgcag CctatcgctC C321




                                                                                      Signed and Sealed this
                                                                                   Sixteenth Day of July, 2013


                                                                                                  Teresa Stanek Rea
                                                                           Acting Director of the United States Patent and Trademark Office
